            Case 5:15-cr-50050-TLB                     Document 67            Filed 02/24/16          Page 1 of 5 PageID #: 367
AO 2458 ( Rev. I 0/ 15) Judgment in a Crim inal Case
                          Sheet I



                                            UNITED STATES DISTRICT COURT
                                                          Western District of Arkansas
                                                                              )
                 UNITED STATES OF AMERICA                                     )     JUDGMENT IN A CRIMINAL CASE
                            v.                                                )
                                                                              )
                                                                                    Case     umber:           5: l 5CR50050-002
                                                                              )
               FRANCISCO MEJIA-GALDAMEZ                                       )      USM     umber:           128 14-010
                                                                              )
                                                                              )     Jack Schisler
                                                                              )      Defe ndant' s Attorney
THE DEFENDANT:
X pleaded guil ty to count(s)          Four (4) of the Indictment on November 5, 20 15

D pleaded no lo contendere to count(s)
   which was accepted by the court.
D was fo und guilty on count(s)
   after a plea of not guilty.

The defendant is adj udicated guilty of these offenses:

Title & Section                     Nature of Offense                                                           Offense Ended           Count
2 1 U.S.C.§841(a)(I)                Distribution of Methamphetamine                                              06/24/20 15               4




The defendant is sentenced as provided in pages 2 through __
                                                           5_ of this judgment. The sentence is imposed pursuant to the Sentencing
Refom1 Act of 1984.
D The defendant has been fo und not gu il ty on count( )
X Count(s) One (I). Two (2). Three (3). and the Forfeiture Allegation D is X are dism issed on the motion of the United State .

It is ordered that the defendant must notify the United States attorney fo r this district within 30 days of any change ofname, res idence, or mai ling
address until all fmes, restitution, costs, and spec ial assessments imposed by this judgment are fully paid. If ordered to pay restitution , the
defendant must noti fy the court and United States attorney of material changes in economic circumstances.

                                                                          February 24 , 20 16
                                                                          Date    mposition of Ju




                                                                          Honorable T imoth y L. Brooks, United States District Judge
                                                                           ame and Title of Judge



                                                                          0
                                                                              ..   f"e~r~11~, Jolb
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                         Sheet 2 - Impri sonment

                                                                                                      .Judgment -   Page   2   of   5
 DEFENDANT:                     FRANCISCO MEJIA-GALDAMEZ
 CASE NUMBER:                   5: l 5CR50050-002

                                                             IMPRISONMENT
          The defendant is hereby conm1itted to the custody of the United State Bureau of Prisons to be imprisoned for a
 total term of:        fifty-seven (57) months




     X    The court makes the fo llowing reco11U11endations to the Bureau of Prisons:
          The defendant has developed an extensive medica l record at the Washington County Detention Center, which has apparently been
          difficu lt for that facility to manage. The Court recommends that a rev iew of the Defendant's medical records and condition be
          prioritized as he is rece ived into BOP ' s custody.



     X The defendant is remanded to the custody of the United States Marshal.

     D The defendant sha ll surrender to the United States Marshal for thi district:
          D at                                     D a.m.       D    p.m.     on

          D    as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D    before 2 p.m. on

          D    as notified by the United States Marshal.

          D    as notified by the Probation or Pretria l Services Office.



                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

a                                                    , with a certified copy of this judgment.



                                                                                                    UN ITED STATES MARSHAL



                                                                            By
                                                                                                 DEPUTY   NITED STATES MARSHAL
          Case
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               I 0/1 5) Judgment in a Crim ina l Case   Document 67              Filed 02/24/16            Page 3 of 5 PageID #: 369
                         Sheet 3 - Supervised Release
                                                                                                                   Judgment- Page      3      of         5
 D EFENDANT :                    FRANCIS CO MEJIA-G ALDAMEZ
 CASE N UMB ER:                  5: I 5CR5 0050-002
                                                            SUPERVISED RELEASE
Upon re lease fro m imprisonment, the defendant shall be on supervised release for a tem1 of :             three (3) year s
It is anticipa ted that the defendant m.a y be depo rted by Imm ig ratio n and Customs Enfo rcement (ICE) fo llowing his term of imprisonment.
Acco rdingly, if defendant leave the United Sta tes by way of depo rtation o r o therwise after completion o f his te rm of imprisonment and, afte r
such departure, aga in enters the United States illegally - the defendant will then be in immediate vio latio n of a cond itio n of supervised release.
If, prio r to any depo rtation, defendant is released on bond by ICE o r if, after depo rtation, the defendant re turns to the United States legally -
th e de fe nda nt shall in e ithe r event- repo tt to the nearest U.S. Probati on Officer within 72 ho urs of uch re lease or return . Based on these
circumstances, the manda to ry drug testing provisions of 18 U .S.C. § 35 83(d) a re hereby waived.



T he defendant hall no t ~o mmit another fe dera l, state or loca l crime.
The defendant shall no t unlawfu lly posse s a controlled substance. The defendant shall refra in fro m any unlawfu l use of a contro lled

                                                                                                                                   .
substa nce. T he defenda nt shall submit to one drug test within 15 days of relea e fro m imprisonment and at least two periodic drug te ts
thereafter, as detennined by the court.
                                                                            ..
         The above drug testing conditi o n is suspended, based o n the court' s determinati on that the defendant poses a low ri sk of
x        future substance abuse . (Check. if applicable.)

x        T he defendant shall no t possess a firearm, a mmun ition, destructi ve device, o r any other dangero us weapo n. (Check. if applicable.)

x        The defendant shall cooperate in the co llectio n of DNA as directed by the probation offi cer. (Check. if applicable.)

         T he defendant shall comply with the requirements of the Sex Offende r Registra tion and Notificati on Ac t (42 U .S. C. § 1690 I, et seq. )
0        as directed by the probatton offi cer, the Bureau of P risons, or any sta te sex offe nder registration agency in which he o r she res ides,
         wo rks, is a student, o r was convicted ofa qualifying offense. (Check. if applicable.)

0        T he defend ant shall participate in an approved program fo r domestic v io lence . (Check. if applicable.)
If this judgment imposes a fin e or restitution, it is a condition of supervised re lease that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.
T he defendant must compl y with the standard conditio ns that have been adopted by this court as well as with any additional conditio ns on the
a ttached page .

                                            ST AND ARD CONDITIONS OF SUPERVISION
    I)     the defendant shall no t leave the judicia l di stric t witho ut the permissio n of the court or probatio n offi cer;
    2)     the defendant shall report to the pro batio n offi cer in a manner and fre quency directed by the court or probation offi cer;
    3)     the defendant sha ll answe r truthfull y all inquiri es by the probati on offi cer and foll ow the instruc tions of the probation officer;
    4)    the defendant sha ll suppo rt hi o r he r depe ndents and meet other famil y respo nsibilities;
    5)    the defendant shall wo rk regula rl y at a lawfu l occupa tion, unless excused by the probation officer fo r schoo ling, tra ining, or other
          acceptable reasons;
    6)    the defendant shall no tify the pro ba tion offi cer at least ten days prior to any c hange in residence o r employment;
    7)    the defendant sha ll refra in fro m excessive use of alcoho l and shall not purchase, possess, use, distribu te, or admini te r any
          controlled substance o r any paraphernali a related to any contro lled substances, except as prescribed by a physician;
    8)    the defendant shall no t freq uent pl aces where contro lled substances are illega lly so ld, used, distributed, o r administered ;
    9)    the defendant sha ll no t assoc ia te with any persons engaged in criminal ac ti vity and shall not assoc ia te with any person convic ted of a
          fe lo ny, unless granted penni ss io n to do so by the probation offi cer;
 10)      the defenda nt shall pe rmit a probatio n officer to vis it him o r he r a t any time at home o r elsewhere and shall pennit confi sca tion of an y
          cont ra band o bserved in pl ain view of the pro bation o ffi cer;
  I 1)    the defendant shall no ti fy the pro ba tion offi cer within seventy-two ho urs of being arrested or questio ned by a law enfo rcement officer;
 12)      the defendant sha ll no t ente r into a ny ag reement to ac t as an info m1er o r a spec ial agent of a law enfo rcement agency w itho ut the
          penrnss1o n of the court; and
 13)      as directed by the prnbation offi cer, the 9efendant shall no tify _th ird parties _ofri sks that ma y be occasio ned by the de fendant ' s crimina l
          reco rd o r personal history o r charac te n st1cs and shall pe nrnt the probatio n offi cer to make suc h notificati o ns and to confim1 the
          defenda nt' s complia nce with such notificatio n requirement.
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           Sheet 5 -   Crimin al Monetary Penalti es
                                                                                                               Judgment -   Page     4      of       5
 DEFENDANT:                             FRA CISCO MEJIA-G ALDAMEZ
 CASE NUMB ER:                          5: 15CR50050-002
                                                       CRIMINAL MONETARY PENALTIES
      T he defendant must pay the total crimina l monetary penalties under the schedule o f payments on Sheet 6.


                           Assessment                                            Fine                                Restitution
TOTALS                 $   100 .00                                             $ 1,000.00                          $ -0-



 D T he detennination of restitution is deferred until                         . An Amended Judgment in a Criminal Case (A O 245C) will be entered
      after such detennination.

 D The defendant must make re tituti on (including commun ity restitution) to the fo llowing payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall rece ive an approx imately proportioned p ayment, unless specifi ed otherwise in
      the prio rity order or percentage payment co lumn below. However, pursuant to 18 U.S.C. § 3664 (i) , all nonfe deral victims must be pa id
      before the United States i paid .

 Name of Pavee                                         Total Loss*                      Restitution Ordered                        Priority or Percentage




TOTALS                                                                              $


D      Restitution amount ordered pursuant to plea agreement $

D      T he defendant must pay interest on restituti on and a fine of mo re than $2 ,500, unless the resti tution or fi ne is paid in full befo re the
       fi fteenth day a fter the date of the judgment, pursuant to 18 U.S.C. § 36 12( f). All of the payment options on Sheet 6 may be subj ect
       to pena lties fo r delinquency and default, pursuant to 18 U.S .C. § 36 l 2(g).

X      T he court determined that the defendant does not have the ability to pay intere t and it is ordered that:

       X     the interest requirement is wa ived fo r the             X fine     D restitution.
       D the interest requirement fo r the                D    fine    D restitution i modified as fo llows:

* Findings fo r the total amount ofl osses are required under Chapters I 09A, 11 0, I I OA, and l l 3A of T itle 18 fo r offenses conm1itted on or after
September 13, 1994 , but before April 23 , 1996.
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          heel 6 - Schedule of Payments

                                                                                                                    Judgment -   Page      5      of           5
 DEFENDANT:                    FRANCISCO MEJIA-GALDAMEZ
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                                                          SCHEDULE OF PAYMENTS

 Hav ing assessed the defendant' s abili ty to pay, payment of the tota l criminal monetary pena lties is due as follows:

A      X     Lump um payment of               1, 100.00            due immediately, balance due

             D     not later than                                       , or
             X     in accordance           D C,        D D,        D     E,or       X F below; or
 B     D     Payment to begin immediately (may be combined with                  oc,          DD, or        D F be low); or
C      D     Payment in equa l                          (e.g. . weekly. monthly . quarterly) insta llments of                               over a period of
                             (e.g.. mom/is or years) , to commence                          (e.g. . 30 or 60 days) after the date of this judgment; or

D      D     Payment in equal                           (e.g.. 11'eekly. mo111/ily. quarterly) installments of $                          over a period of
                             (e.g .. months or years), to commence                            (e.g.. 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E     D     Payment during the term of supervised release wi ll commence within                  (e.g .. 30 or 60 days) after release from
             impri sonment. The court will set the payment plan based on an assessment of the defendant's abili ty to pay at that time ; or

F      X     Spec ia l in tructions regard ing the payment of criminal monetary pena lties:
             If not paid immediately, any unpaid financial pena lty shall be paid by the defendant during his term of imprisonment at a rate of up
             to 50% of the defendant s ava ilable funds in accordance with the Inmate Financial Responsibility Program. If the defendant is in the
             United Sates lega ll y, then the payment of any remaining ba lance shall become a condition of supervised release and shall be paid in
             monthl y installments of I 00.UO or 15% of defendant' s net monthly househo ld income, whichever is greater, with the entire balance
             to be paid in full no later than one month prior to the end of the period of supervised release.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, p ayment of criminal monetary penalties is due during
imprisonment. All crnninal monetary penalti e~ except fhose payments made througfl tll e Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the c lerk or the court.

The defendant shall receive credi t for all payments previously made toward any criminal monetary pena lties imposed.




D      Joint and Several

       Defendant and ~o - Defendant Name~ and Case Numbers (i11c/11di11g defenda nt number), Total Amount, Jo int and Several Amount,
       and correspond mg payee, if appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the fo ll owing court cost(s):

D     The de fendant shall forfeit the defendant's interest in th e following property to th e United States:


PaYQ1ents shall be applied in .the fol!ow.ing order: ( L? asse sment, (2) re~tituti qn principa l, (3) restitution interest, (4) fine princ ipal,
(5) fine mterest, (6) community rest1tut1on, (7) pena ties, and (8) costs, mc ludmg cost o f prosecution and court costs.
